Case 3:97-cr-00128-G.. ‘Document 1067 Filed 02/14/07

(4 a

February 9, 2007
“To: M(s) Karen Mitchell, Clerk CLERK

U.S. District Court, Dallas, Texas US. DISTRICT CO T
1100 Commerce Ave. ; "—ee ED
Dallas, Texas 75242 oy

Re: Case No-.s 7 and 27, U.S. v. McLaren et al, 3:97-CR-128, 00-CV-707.

Notice is hereby given to the above Clerk and parties via of a "MEMORANDUM
INVOKING DUE PROCESS OF APPEALS PROCESS AT LAW", dated February 1, 200/eith tH
Clerks Office of the U.S. Supreme Court.

That. you and your Office as of February 6, 2007 are in common law delinquency
and are obstructing Appellant's right to appeals by: 1) intentionally forwarding
this appeal to wrong appeals court, and one that has by order since June 4, 1998,
blocked Appellant's rights to appeal before that court,(1); 2) have not provided
file stamp copies of Appendix "A" and "B" to Appelants to their January 31, 2007,
notice; and 3) copies of all Dockets sheets to date in both actions, all of
which are necessary for the Appealants to complete their jurisdictional statement
with the U.S. Supreme Court to docket their appeal.

Should these delinquencies fail to be corrected by your office in the next

10 days, Appellant's reserve the right to perfect default against you, your office,

and all lower court proceedings. Where not already voided.

» Aay/
His Excellency °

Mr. Richard Lance McLaren
Chief Ambassador and Consul General
Of The Republic of Texas

cc. Clerk, U.S. Supreme Court.

(1) See; Page 3,, Note (4), Pharagraph 6, to Appellant's "Joint Notice", of
June 30, 2006, filed with this court of December 18, 2006. Also see
for copies of "Administrative Orders" By Cheif Judge of 5th Circuit
blocking the Appellant's rights before and with court, are in O0- CV-707
[ FurthexCthe U.S. 5th Circuit has no jurisdiction over this appeal since it
forms part of and is in contiguity within the original "Joint Notice".
See: Sec.III to "Corrected Notice of Appeal", of 1/31/07.]
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Richard Mclaren #802782
Clements. Unit

9601 Spur 591
Amarillo, Texas 79107

Legal Mail

RMRLEL ECD Poe

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U.S. District Court
1100 Commerce St. Rin 1452...
Att. Clerk i pe

Dallas, Texas

“hOTE

